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                        EXHIBIT E
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                           DEPOSITION OF ROBERTO DIAZ


    1                    UNITED STATES DISTRICT COURT
    2                   CENTRAL DISTRICT OF CALIFORNIA
    3
    4
    5    GOLDEN BOY PROMOTIONS, LLC, )
         GOLDEN BOY PROMOTIONS, INC.,)
    6    AND BERNARD HOPKINS,        )
                                     )
    7                  PLAINTIFFS,   )
                                     )
    8        VS.                     ) CASE NO.
                                     ) 2:15-CV-03378
    9    ALAN HAYMON, ALAN HAYMON    ) JFW (MRWX)
         DEVELOPMENT, INC., HAYMON   )
   10    HOLDINGS, LLC, HAYMON       )
         SPORTS, LLC, HAYMON BOXING )
   11    MANAGEMENT, HAYMON BOXING, )
         LLC, AND RYAN CALDWELL,     )
   12                                )
                       DEFENDANTS.   )
   13    ____________________________)
   14
   15
   16
   17                 DEPOSITION OF ROBERTO DIAZ, TAKEN
   18                 ON BEHALF OF THE DEFENDANTS, AT 865
   19                 SOUTH FIGUEROA STREET, TENTH FLOOR,
   20                 LOS ANGELES, CALIFORNIA, COMMENCING
   21                 AT 9:30 A.M., WEDNESDAY, SEPTEMBER 28,
   22                 2016, BEFORE TRACY M. FOX, CSR NUMBER
   23                 10449.
   24
   25
                                                                               2
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                                 DEPOSITION OF ROBERTO DIAZ

14:13:23    1               Q.   AND WHAT DID YOU MEAN BY CALLING IT
14:13:25    2   A -- A "SPLIT"?
14:13:27    3               A.   BASICALLY END OF WHAT WE -- WHAT I
14:13:30    4   THOUGHT WAS A PARTNERSHIP AND TO EACH HIS OWN.
14:13:36    5               Q.   AND YOUR UNDERSTANDING OF -- WHAT WAS
14:13:38    6   YOUR UNDERSTANDING OF WHAT YOU JUST CALLED "A
14:13:39    7   PARTNERSHIP"?    WHAT IT WAS?
14:13:42    8               A.   RELATIONSHIP WORKING TOGETHER, LIKE WE
14:13:45    9   HAD BEEN FOR THE LAST COUPLE YEARS, CAME TO AN END.
14:13:50   10               Q.   AND BEFORE THAT, WERE YOU LOOKING TO
14:13:53   11   MAKE MATCHES FOR THE HAYMON FIGHTERS OR WAS THAT JOHN
14:13:57   12   BENINATI?
14:13:58   13                    MR. CESTERO:     OBJECTION; IT'S VAGUE
14:14:02   14   AND AMBIGUOUS, VAGUE AS TO TIME.
14:14:02   15                    THE DEPONENT:     JOHN BENINATI WAS
14:14:03   16   MAKING THE MATCHES FOR THE SMALLER FIGHTERS ON FOX
14:14:08   17   SPORTS 1.
14:14:11   18                    THE -- THE TOP-LEVEL FIGHTERS, THE
14:14:12   19   ONES THAT HAD OUTGROWN FOX SPORTS 1, WAS MORE OF YOUR
14:14:18   20   SHOWTIME OR, YOU KNOW, CABLE NETWORK.         THOSE WOULD BE
14:14:24   21   ERIC GOMEZ AND AL HAYMON DIRECTLY.
14:14:28   22   BY MR. WOLFSON:
14:14:28   23               Q.   THEY WERE MAKING THE MATCHES FOR
14:14:30   24   THE -- THE HIGHER-LEVEL FIGHTS?
14:14:31   25               A.   FOR TELEVISION.
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                                 DEPOSITION OF ROBERTO DIAZ

14:15:53    1   ROUNDS.    I DON'T RECALL ANY A SPECIFIC 12-ROUND
14:15:55    2   FIGHT.    BUT AGAIN, IT'S POSSIBLE.
14:15:56    3               Q.   AND DID YOU VIEW THE -- THE FOX SERIES
14:16:01    4   AS A VENUE FOR GOLDEN BOY TO SHOWCASE ITS TOP-LEVEL
14:16:06    5   FIGHTERS?
14:16:06    6                    MR. CESTERO:     OBJECTION; THAT'S VAGUE
14:16:17    7   AND AMBIGUOUS.
14:16:17    8                    THE DEPONENT:     NO.   FOX SPORTS WAS
14:16:18    9   MORE OF A DEVELOPMENTAL LEVEL FOR YOUR YOUNG FIGHTERS
14:16:21   10   TO OBTAIN THAT STATURE OF YOUR BIGGER NETWORK, YOUR
14:16:27   11   BIGGER LICENSE FEE, YOUR BIGGER EXPOSURE.
14:16:33   12   BY MR. WOLFSON:
14:16:33   13               Q.   SO EARLIER, DO YOU RECALL -- WELL,
14:16:39   14   OKAY.
14:16:40   15                    SO WHEN YOU SAY -- STRIKE THAT.
14:16:42   16                    WHEN -- WHEN YOU SAY THAT IT WAS MORE
14:16:43   17   OF A DEVELOPMENTAL STAGE, WHAT -- CAN YOU EXPAND ON
14:16:45   18   THAT AT ALL?     EXPLAIN WHAT YOU MEAN BY THAT?
14:16:48   19               A.   INTRODUCTION TO THE NATIONWIDE
14:16:51   20   AUDIENCE.   FOR INSTANCE, I HAVE A FIGHTER IN LOS
14:17:01   21   ANGELES.    PUTTING HIM ON FOX SPORTS 1, HE CAN BE SEEN
14:17:02   22   IN NEW YORK.     HE CAN BE SEEN ACROSS THE COUNTRY.         HE
14:17:05   23   CAN GET FANS FROM ALL OVER THE COUNTRY, RATHER THAN
14:17:07   24   JUST HERE LOCALLY.
14:17:09   25               Q.    AND WERE THESE -- WERE THE FIGHTERS
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                                 DEPOSITION OF ROBERTO DIAZ

14:29:38    1              Q.    NOW, IN THE FOX DEAL THAT WE'VE SPOKEN
14:29:40    2   ABOUT TODAY, DO YOU KNOW WHETHER GOLDEN BOY WAS
14:29:42    3   RECEIVING A LICENSE FEE FOR PUTTING ON SHOWS ON THE
14:29:45    4   FOX NETWORKS?
14:29:49    5              A.    YES.
14:29:49    6              Q.    DO YOU KNOW HOW MUCH THAT LICENSE FEE
14:29:51    7   WAS PER SHOW?
14:29:52    8              A.    I VAGUELY REMEMBER.       MAYBE ABOUT
14:29:54    9   40,000.
14:29:55   10              Q.    AND WAS THAT -- TO THE BEST OF YOUR
14:29:57   11   KNOWLEDGE, WAS THAT PER SHOW OR WAS IT FOR THE ENTIRE
14:30:00   12   SERIES?
14:30:00   13              A.    NO, PER SHOW.
14:30:04   14              Q.    AND DO YOU KNOW HOW MUCH GOLDEN BOY
14:30:06   15   SPENT TO PROMOTE THOSE FIGHTS?
14:30:08   16                    MR. CESTERO:     OBJECTION; IT'S VAGUE
14:30:09   17   AND AMBIGUOUS.
14:30:13   18                    YOU MEAN THE TOTAL COST OF THOSE
14:30:14   19   SHOWS?
14:30:14   20                    MR. WOLFSON:     ON AVERAGE.
14:30:16   21                    MR. CESTERO:     INCLUDING THE PURSES?
14:30:18   22                    THE DEPONENT:     YEAH.    BECAUSE, I MEAN,
14:30:18   23   IF WE INCLUDE PURSES, IF WE INCLUDE EMPLOYEES', YOU
14:30:22   24   KNOW, EXPENSES, NO, I -- I'D HAVE TO SAY WE'D HAVE TO
14:30:27   25   LOOK AT THE BOOKS.
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                           DEPOSITION OF ROBERTO DIAZ


    1    STATE OF CALIFORNIA            )
                                        )   .SS
    2    COUNTY OF LOS ANGELES          )
    3
    4              I, TRACY M. FOX, CERTIFIED SHORTHAND
    5    REPORTER, CERTIFICATE NUMBER 10449, FOR THE STATE
    6    OF CALIFORNIA, HEREBY CERTIFY:
    7              THE FOREGOING PROCEEDINGS WERE TAKEN
    8    BEFORE ME AT THE TIME AND PLACE THEREIN SET FORTH,
    9    AT WHICH TIME THE DEPONENT WAS PLACED UNDER OATH
   10    BY ME;
   11              THE TESTIMONY OF THE DEPONENT AND ALL
   12    OBJECTIONS MADE AT THE TIME OF THE EXAMINATION
   13    WERE RECORDED STENOGRAPHICALLY BY ME AND WERE
   14    THEREAFTER TRANSCRIBED;
   15              THE FOREGOING TRANSCRIPT IS A TRUE AND
   16    CORRECT TRANSCRIPT OF MY SHORTHAND NOTES SO TAKEN;
   17              I FURTHER CERTIFY THAT I AM NEITHER
   18    COUNSEL FOR NOR RELATED TO ANY PARTY TO SAID
   19    ACTION, NOR IN ANY WAY INTERESTED IN THE OUTCOME
   20    THEREOF.
   21              IN WITNESS WHEREOF, I HAVE HEREUNTO
   22    SUBSCRIBED MY NAME THIS 3RD DAY OF OCTOBER, 2016.
   23
   24
                               ________________________________
   25
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